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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  Jennifer Hough,
                               Plaintiff,

                                                     Proposed Default Judgment
         -against
                                                     Civil Action No. 21-cv-4568


  Kenneth Petty, AKA (“Zoo”),
  an individual
                             Defendant.

         This action having been commenced on August 13, 2021, by the filing of the Summons

  and Complaint, and a copy of the Summons and Amended Complaint having been served on

  Defendant Kenneth Petty (“Defendant Petty”) on September 15, 2021, by personal service on

  Defendant Petty at his residence located at 23483 Park Colombo, Calabasas, CA 91302, and proof

  of such service was filed on September 17, 2021; and Defendant Petty not having answered the

  Complaint, and the time for answering the Complaint having expired; it is

         ORDERED, ADJUDGED AND DECREED: That Plaintiff has judgment against

  Defendant Petty in the amount sought in the Amended Complaint and to be determined by the

  Court at an Inquest Hearing on ________.



  Dated: Brooklyn, New York ______________, 2022

                                                             __________________________
                                                                   U.S.D.J.


  This document was entered on the docket on February 14, 2022.
